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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

VS. Civil/Criminal No.. _21-CR-599 (RBW)

 

DONNIE DUANE WREN AND
THOMAS HARLEN SMITH

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NOTE FROM JURY

 

 

 

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